                          UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan (Detroit)
In re Danita Ana Miller                                                                          Case No. 11-40797
     Debtor                                                                                      Chapter 13

Notice of Postpetition Mortgage Fees, Expenses, and Charges


If you hold a claim secured by a security interest in the debtor's principal residence, you must use this form to give notice of any
postpetition fees, expenses, and charges that you assert are recoverable against the debtor or against the debtor's principal
residence. File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

 Name of creditor: NATIONSTAR MORTGAGE,LLC

 Last four digits of any number you
 use to identify the debtor's account:   6455                     Court claim no. (if known): 2

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
         No
         Yes. Date of the last notice:


Part 1: Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy
court.

       Description                                                 Dates incurred                                      Amount

   1. Late charges                                                                                             (1) $               0.00
   2. Non-sufficient funds (NSF) fees                                                                          (2) $               0.00
   3. Attorney fees                                                12-10-2012                                  (3) $             10.00
   4. Filing fees and court costs                                                                              (4) $               0.00
   5. Bankruptcy/Proof of claim fees                                                                           (5) $               0.00
   6. Appraisal/Broker's price opinion fees                                                                    (6) $               0.00
   7. Property inspection fees                                                                                 (7) $               0.00
   8. Tax advances (non-escrow)                                                                                (8) $               0.00
   9. Insurance advances (non-escrow)                                                                          (9) $               0.00
  10. Property preservation expenses. Specify:                     12-04-2012, 01-03-2013, 02-05-2013         (10) $            309.75
  11. Other. Specify: Property preservation expenses               03-05-2013, 04-03-2013, 05-03-2013         (11) $            309.75
  12. Other. Specify:                                                                                         (12) $               0.00
  13. Other. Specify:                                                                                         (13) $               0.00
  14. Other. Specify:                                                                                         (14) $               0.00


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.
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Part 2: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.


     Check the appropriate box:
           I am the creditor.
           I am the creditor's authorized agent. (Attach a copy of power of attorney, if any.)

     I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
     knowledge, information, and reasonable belief.

           /s/ Diana Duarte                                                                      Date 07/03/2013
           Authorized Filing Agent
           (Approved by: Chad Howell)



    Specific Contact Information:                             Nationstar Mortgage, LLC.
    P: 877-782-7612                                           PO Box 630267
    Chad.Howell@nationstarmail.com
                                                              Irving, TX 75063




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                             UNITED STATES BANKRUPTCY COURT
                                                 Eastern District of Michigan (Detroit)
                                                                            Chapter 13 No. 11-40797
 In re:                                                                     Judge: Judge Marci B McIvor

 Danita Ana Miller

                                                   Debtor(s).


                                                    CERTIFICATE OF SERVICE
 I hereby certify that on July 03, 2013, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid, or
 via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                    Danita Ana Miller
                            11336 Stockwell
                            Detroit, MI 48224



 Debtor's Attorney:         Eleanor Cattron Smith
                            243 W. Congress
                            Suite 350
                            Detroit, MI 48226


 Trustee:                   David Wm Ruskin
                            26555 Evergreen Rd Ste 1100
                            Southfield, MI 48076-4251




                                                                            /s/ Bill Taylor
                                                                            Authorized Agent




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